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             EXHIBIT 8
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From: Michael Bloch
Sent: Tuesday, April 9, 2019 5:03 PM
To: 'Edward ReBrook, ESQ' <rebrooklaw@gmail.com>
Cc: Gabrielle E. Tenzer <gtenzer@kaplanhecker.com>; Christopher Greene <cgreene@kaplanhecker.com>
Subject: RE: Sines v. Kessler

Mr. ReBrook,

Thank you for your prompt response. I am one of the attorneys at Kaplan Hecker & Fink. We, along with attorneys at
Boies Schiller Flexner LLP as well as Cooley LLP, represent all of the Plaintiffs.

We understand that you have been newly retained by Mr. Schoep, so I have provided below a brief status of the parties’
discovery disputes, as the issues that you raise below have already been resolved. We also suggest that, for a complete
understanding, you review the filings and rulings already made in this case, which cover most of the issues you now
raise. I have included below citations to some of the key documents on these issues. Plaintiffs’ discovery requests have
been outstanding for more than a year, and, apart from credentials to a single VK account, Mr. Schoep has failed to
produce any documents. The parties (including Mr. Schoep) have now litigated discovery disputes for several months,
which has resulted in a number of court orders that, among other things: (1) direct the production of documents and
information; (2) require that the parties provide their electronic devices and social media accounts to a third party
vendor for imaging (ECF 379, 383); and (3) certify, under oath, all electronic devices and social media accounts they had
that contained potentially relevant documents, so that those devices and accounts could be collected and imaged by the
vendor. Mr. Schoep filled out the certifications on behalf of himself and the two entity Defendants (NF and NSM), but
we believe he failed to disclose numerous accounts and the gateway computer, which we understand have responsive
documents. Under the Court’s orders, all electronic devices and social media accounts were required to be produced by
March 8, 2019 (ECF 441), but it appears that your clients have failed to identify, and thus produce, all relevant accounts
and devices. In short, Mr. Schoep is already in violation of court orders by continuing to withhold a computer and
credentials to multiple social media accounts believed to contain potentially responsive documents. Mr. Schoep’s
failure to even identify all relevant devices and accounts may be the subject of a further motion (there is already a
motion for sanctions pending against your client). We would also note that your client cannot avoid discovery because
of the temporary inconvenience of not having his computer for a short period of time, particularly after the Court has
already ordered all defendants to produce these items.

Further, as Judge Hoppe has already recognized, given that this is a conspiracy case, any objection to producing
documents from before the official announcement of the rally, or discussions post‐announcement, is meritless;
documents and communications about the events at issue are highly relevant, whenever they were created. While we
are not able to extend the deadline imposed by the Court – which already passed one month ago – we understand that
you are new to the case and traveling. Accordingly, please confirm for us that Mr. Schoep will update his certification
and produce the electronic devices and account credentials by Friday, April 19. Please also let us know by April 19 if
your client will, as suggested by your email, object to producing any communications prior to the announcement of UTR
or after the date of UTR, and your availability for an immediate call with the magistrate in that event, as we will seek
immediate relief from the Court.

Finally, as for additional custodians, NSM and NF, as entities, are legally required to turn over all documents in their
possession that are relevant and responsive to our document requests, even if those documents are in the possession of
custodians other than Mr. Schoep. As a large, well‐established entity (at least with respect to NSM), it is difficult to
imagine there were not others in the organization who were communicating on its behalf about the events at issue in
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this case. If that is the case, those documents need to be produced as well. See, e.g., Selee Corp. v. McDanel Advanced
Ceramic Techs., LLC, No. 1:15‐CV‐00129‐MR, 2016 WL 4546446, at *3 (W.D.N.C. Aug. 31, 2016) (“The Federal Rules of
Civil Procedure impose a duty upon companies responding to discovery to conduct a reasonable investigation, make
reasonable inquiries of its employees, and fully respond to interrogatories and document requests.”)(citation and
internal quotation marks omitted); accord Hickman v. Wal‐Mart Stores, Inc., 152 F.R.D. 216, 223 (M.D. Fla. 1993)
(affirming that a company has a duty to make a reasonable search of its business records and a reasonable inquiry of its
employees and agents, in order to obtain the information sought in discovery). We understand that these entities are
also your clients. Accordingly, please let us know if it is your position that there is nobody else in either NSM or NF in
possession of potentially responsive documents.

I am happy to discuss these issues further at any time.

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From: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
Sent: Tuesday, April 9, 2019 11:17 AM
To: Michael Bloch <mbloch@kaplanhecker.com>
Subject: Re: Sines v. Kessler

Mr. Block:

I will review these requests with my client and get back to you; however, I am concerned that much of what you're
requesting is overly broad, duplicative, irrelevant, and/or privileged. My client ‐ Jeff Schoep ‐ cannot afford to relinquish
his computer, as he needs it for work, to communicate with me, and to prepare for Sines v. Kessler and other lawsuits.
Also, I believe that any request for electronic communications before the Unite the Right Rally was announced and after
the Rally ended are irrelevant. Obviously, one cannot incite violence in the past. Moreover, many of the things you are
asking for are not under the control or ownership of my client. He cannot give you what he doesn't have. I also have no
power to make persons unrelated to this litigation and not under the control of Mr. Schoep give me anything. Since Mr.
Schoep is the only named defendant for the NSM and the "Nationalist Front" (which was never a real, functioning
entity), only materials within his possession and control are subject to discovery.

Also, even if I did not have any objections to your requests, I am unsure if your demand can be met in the timeframe you
have requested. I am on family vacation from this evening through next Tuesday and will have very limited access to
email, if any, during that time.

Lastly, please forgive my ignorance, but who are you again? I imagine you are a plaintiff's attorney, which plaintiff?


Best regards,

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On Mon, Apr 8, 2019 at 6:05 PM Michael Bloch <mbloch@kaplanhecker.com> wrote:

Mr. ReBrook,



We understand that you now represent Jeff Schoep, the National Socialist Movement (NSM), and the National
Front (NF). Prior to your involvement in the case, on November 19, 2018, the Court ordered each Defendant to
disclose in a sworn certification all social media accounts and electronic devices that contained potentially
relevant documents or ESI (ECF 379, 383) so that those accounts and devices could be submitted to a third-
party vendor for imaging and collection of responsive documents. Plaintiffs believe your clients failed to
disclose in those certifications numerous social media accounts and electronic devices that we believe contain
information responsive to Plaintiffs’ discovery requests. I am writing to ask that each Defendant you represent
fill out a supplemental certification listing all social media accounts and electronic devices that contain
potentially relevant documents or ESI. If you believe, for any reason, that such accounts or devices need not
have been included on the sworn certifications, please let us know that as well. Once Defendants provide us
with updated, complete certifications, we will provide those certifications to the third-party vendor for imaging
and collection.



Below is a list of Defendants’ social media accounts and electronic devices that Plaintiffs believe contain
information responsive to Plaintiffs’ discovery requests that the Defendants failed to include in their original
certifications. Many of these were identified by the Defendants themselves in sworn interrogatory
responses. If Defendants are aware of additional accounts and devices that contain information responsive to
Plaintiffs’ discovery requests, Defendants are obligated, as part of their continuing discovery obligations, to
include those accounts and devices in these supplemental certifications as noted by the Court in the most recent
status conference.



Additionally, both NSM and NF identified Jeff Schoep as the sole custodian of documents in the possession of
each of those entities. To the extent there are additional custodians from either of those entities who possess
accounts and devices with information responsive to Plaintiffs’ discovery requests, those custodians should
also be disclosed to Plaintiffs so that their documents can be produced. Please let us know if there are any such
additional custodians.



Lastly, as noted in an e-mail sent by Caitlin Fila on March 26, 2019, the third-party vendor needs confirmation
as to Mr. Schoep’s e-mail account in order to access his documents from Twitter. The address they have is
effschoep@nsm88, which seems like it may include a typographical error. Please confirm for the vendor the
correct e-mail address so that Mr. Schoep’s Twitter account can be collected and produced.



We request that you provide us (1) a supplemental certification; (2) the names of any additional custodian(s)
for NSM and NF; and (3) confirmation as to the email address associated with Mr. Schoep’s Twitter account
by Thursday, April 11, 2019. Thanks very much for your consideration.
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Plaintiffs believe the following electronic devices and social media accounts may contain potentially relevant
information to this case:



    Gateway desktop computer




           o This was disclosed to Plaintiffs in an email on June 13, 2018 from Mr. Schoep’s former attorney,
               Mr. Kolenich, to Christopher Greene as an electronic device used by Mr. Schoep/NSM that
               contains potentially relevant documents.



    E-mail accounts: commander@newsaxon.org, jeffschoep@gmail.com, commander@newsects.org




           o Although the commander@newsaxon.org account was included in Mr. Schoep’s certification,
               Mr. Schoep identified this only as the account associated with his VKontakte (BK) account, so
               the contents of this e-mail address are not currently being collected by the vendor. Plaintiffs
               believe this account was used to communicate information concerning the events at issue in this
               case and therefore ask that this account be included in Mr. Schoep’s forthcoming certification
               so that the contents of the account may be captured in the ESI collection.



    Websites: nsm88.org, NSMradio.org; nsmmedia.org, nsm88records.com
    Bitchute account: NSMMedia
    Twitter account: @NSM88, @NSM_Media, @natfrontunity
    Youtube account: Identified in Mr. Schoep’s response to interrogatories as “NSM media or something
      similar”
    Website: www.nfunity.org




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